
931 A.2d 1092 (2007)
401 Md. 168
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Georgina M. MOLLICK, Respondent.
Misc. Docket AG No. 32, Sept. Term, 2007.
Court of Appeals of Maryland.
September 10, 2007.

ORDER
Upon consideration of the Joint Petition for Indefinite Suspension by Consent filed herein pursuant to Maryland Rule 16-772, it is this 10th day of September, 2007,
ORDERED, by the Court of Appeals of Maryland of Maryland, that Georgina M. Mollick be, and she is hereby, suspended indefinitely from the further practice of law in the State of Maryland and shall not apply fore reinstatement until she is readmitted to the Bar of North Carolina, and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Georgina M. Mollick from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
